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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF FLORIDA
                                       GAINESVILLE DIVISION

IN RE:                                            )
                                                  )
Brian Elsmore                                     )    Case No: 18-10341
Mercedes Elsmore                                  )    Chapter 7
                                                  )
              Debtors                             )


  CHAPTER 7 TRUSTEE’S MOTION TO SHORTEN NOTICE AND OBJECTION PERIOD FOR
                  TRUSTEE TO SELL ROPERTY OF THE ESTATE

       Chapter 7 Trustee, THERESA M. BENDER ("trustee"), moves the Court to enter an order

reducing the notice and objection period for the trustee to sell property of the Estate. As grounds for

this Motion, the trustee says:

       1.     On 12/20/2018 the Debtors commenced this case by filing a voluntary petition for relief

under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”). Theresa M. Bender is the

duly appointed and qualified Chapter 7 Trustee.

       2.     The Estate holds and owns Debtors’ former homestead located at 4025 NORTHWEST

35TH STREET GAINESVILLE, FL 32605 (the “Property”) and legally described as follows:

LOT 25, OF A REPLAT OF LOTS 1-5, 7, 8, 19-36, AND 39-43 OF SABLE CHASE CLUSTER
SUBDIVISION, PHASE I, ACCORDING TO THE PLAT THEREOF, AS RECORDED IN PLAT
BOOK P, PAGE 97, OF THE PUBLIC RECORDS OF ALACHUA COUNTY, FLORIDA.


       3.      The Trustee has pursuant to a previously entered order, employed BK Global Real Estate

Services, and Gator Homes to market the real property on behalf of the Bankruptcy Estate and the

Secured Creditor. The Trustee has accepted an offer of $202,500.00 for the purchase of the home. The

Secured Creditor, mr. Cooper has consented to the sale subject to a closing on or before November 1,

2019 at 12:00. (CT).
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       4.     The Trustee feels that it is in the best interests of the creditors and Estate if the Trustee

can proceed to consummate the sale of the Estate’s interest in this real property. The contracts have

been executed, and the Secured Creditor has consented, and the parties are ready to close prior to

November 1, 2019. The Trustee intends to file her Notice of Intent to Sell pursuant to 11 U.S.C.

Section 363(b). Time is of the essence.

       5.     Rule 2002(a), Federal Rules of Bankruptcy Procedures, provides that the trustee may sell

property of the debtor's estate if the trustee gives parties 21-days' notice of the trustee's intention to sell

Rule 9006(c), Bankruptcy Rules of Procedure, provides that the trustee may seek the entry of an order

reducing the period of time for "cause shown." This offer is the best offer with the least cost to the

Estate, was negotiated pursuant to the rules of best business judgment, and the interest of the secured

creditor. The Secured Creditor has consented. The Estate is guaranteed a carve-out. This is the only

asset of the Estate. The total claims filed totals $218,676.47, of which $1,936.03 is a priority claim

filed by the Internal Revenue Service. There will be no surplus and the Trustee is not aware of any

other interested party having standing to object to the sale.

       6.     Given the nature of the real estate business and industry, further delay could result in the

loss of the contractual sale, loss of the asset, and no distribution to the creditors of this Estate. The

Trustee believes that it is in the best interest of the estate, and most cost efficient, prudent and

necessary to proceed with selling the property of the Estate, the trustee requests the Court to reduce the

notice and objection period from 21 days to 7 days so objections, if any, to the trustee's intention to sell

property of the Estate must be filed with the Court by seven (7) days from the filing of the Notice of

Intent to Sell. The Court has scheduled a non-evidentiary hearing on the Motion to Sell filed on this

matter for 10/17/19 at 10:30 a.m.
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       WHEREFORE, the trustee moves the Court to enter an order reducing the notice and objection

period for the trustee's sale of property of the Estate by 7 days and requests such other and further relief

as this Court deems just and proper.

       RESPECTFULLY SUBMITTED:
                                           /s/Theresa M. Bender
                                           THERESA M. BENDER
                                           CHAPTER 7 TRUSTEE
                                           Theresa M. Bender, P.A.
                                           Post Office Box 14557
                                           Tallahassee, FL 32317
                                           PH: (850) 205-7777
                                           FL. Bar # 0749486
                                           Tmbenderch7@gmail.com



                                    CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing motion has been furnished
by the Electronic/U.S. regular mail to:

   Brian Elsmore & Mercedes Elsmore, - 4025 NORTHWEST 35TH STREET, GAINESVILLE, FL
   32605;

   Mr. Cooper, 8950 Cypress Waters Blvd, Coppell, TX 75019

   Barbara A. Cusumano on behalf of Debtor Brian Malcolm Elsmore
   Barbara@BarbaraDebtLaw.com, BarbaraDebtLaw.CaseManager@gmail.com

   Barbara A. Cusumano on behalf of Joint Debtor Mercedes Elsmore
   Barbara@BarbaraDebtLaw.com, BarbaraDebtLaw.CaseManager@gmail.com

   Elizabeth Eckhart on behalf of Creditor U.S. Bank National Association, as Trustee for Lehman XS
   Trust Mortgage Pass-Through Certificates, Series 2007-7N
   eeckhart@logs.com, electronicbankruptcynotices@logs.com

   MCCOY ANDERSON, GATOR HOMES, 21727 SE 69TH AVE, HAWTHORNE, FL. 32640

   PATRICK BUTLER, PBUTLER@BKGINC.COM

   United States Trustee, USTPRegion21.TL.ECF@usdoj.gov


DATED: October 8, 2019              /s/Theresa M. Bender
